              Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 1 of 40




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 PRESTWICK LICENSING LLC,
                                                        C.A. No. 6:22-cv-815
                         Plaintiff,
    v.                                                  JURY TRIAL DEMANDED

 NOFFZ TECHNOLOGIES U.S.A., INC.,                       PATENT CASE

                         Defendant.

                  ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Prestwick Licensing LLC files this Original Complaint for Patent Infringement

against Noffz Technologies U.S.A, Inc., and would respectfully show the Court as follows:

                                         I. THE PARTIES

         1.      Plaintiff Prestwick Licensing LLC (“Prestwick” or “Plaintiff”) is a Texas limited

liability company having an address at 5121 Collin McKinney Pkwy, Ste 500, McKinney, TX

75070-1524.

         2.      On information and belief, Defendant Noffz Technologies U.S.A, Inc.

(“Defendant”) has a place of business at 2808 Longhorn Blvd, Suite 308 Austin, TX 78758.

Defendant has a registered agent at Capitol Corporate Services Inc., 1501 S Mopac Expy, STE

220, Austin, TX 78746.

                                II. JURISDICTION AND VENUE

         3.      This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has subject matter jurisdiction of such action under 28 U.S.C. §§ 1331

and 1338(a).

         4.      On information and belief, Defendant is subject to this Court’s specific and general

personal jurisdiction, pursuant to due process and the Texas Long-Arm Statute, due at least to its



                                                   1
            Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 2 of 40




business in this forum, including at least a portion of the infringements alleged herein, at 2808

Longhorn Blvd, Suite 308 Austin, TX 78758.

       5.      Without limitation, on information and belief, within this state, Defendant has used

the patented inventions thereby committing, and continuing to commit, acts of patent infringement

alleged herein. In addition, on information and belief, Defendant has derived revenues from its

infringing acts occurring within Texas. Further, on information and belief, Defendant is subject

to the Court’s general jurisdiction, including from regularly doing or soliciting business, engaging

in other persistent courses of conduct, and deriving substantial revenue from goods and services

provided to persons or entities in Texas. Further, on information and belief, Defendant is subject

to the Court’s personal jurisdiction at least due to its sale of products and/or services within Texas.

Defendant has committed such purposeful acts and/or transactions in Texas such that it reasonably

should know and expect that it could be haled into this Court as a consequence of such activity.

       6.      Venue is proper in this district under 28 U.S.C. § 1400(b). On information and

belief, Defendant has businesses in this district at 2808 Longhorn Blvd, Suite 308 Austin, TX

78758. On information and belief, from and within this District Defendant has committed at least

a portion of the infringements at issue in this case.

       7.        For these reasons, personal jurisdiction exists, and venue is proper in this Court

under 28 U.S.C. § 1400(b).

                                  III. COUNT I
            (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 7,668,301)

       8.      Plaintiff incorporates the above paragraphs herein by reference.

       9.      On February 23, 2010, United States Patent No. 7,668,301 (“the ‘301 Patent”) was

duly and legally issued by the United States Patent and Trademark Office. The ‘301 Patent is titled

“Simulated User Calling Test System and Method with Built-In Digital SPC-Exchange.” A true



                                                  2
             Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 3 of 40




and correct copy of the ‘301 Patent is attached hereto as Exhibit A and incorporated herein by

reference.

       10.      Prestwick is the assignee of all right, title, and interest in the ‘301 patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the ‘301 Patent. Accordingly, Prestwick possesses the exclusive right

and standing to prosecute the present action for infringement of the ‘301 Patent by Defendant.

       11.      The invention in the ‘301 Patent relates to the field of digital stored program control

(SPC) switch technique in telecommunications, particularly, to a simulated user call test system

built-in digital SPC switch and method. (Ex. A at 1:13-16).

       12.       In the prior art, simulated user calling performance tests for digital SPC switches

mainly employed large traffic call test instruments. (Id. at 1:20-22). The available commercial

simulated user calling test instruments simulated the calling process of actual users realistically,

in which the test is performed by transmitting and receiving pass detecting tone and judging the

pass detecting tone while a call is initiated on a user line, a dial is simulated, and the call is

communicated. (Id.at 1:23-28). However, these systems were expensive and therefore many

network operators do not buy this type of equipment and therefore calling tests are vey complicated

during pass tests of many digital SPC switches. (Id. at 1:31-37). It is therefore advantageous and

simpler if a calling test instrument was built into the switch. (Id.at 1:35-37).

       13.      There are existing switches with a built-in large traffic calling test system

characterized by designing a virtual calling process on a user element processor, simulating the

whole process including initiating a call by a user and answering the call by the called user. (Ex.

A at 1:43-48). However, the main disadvantage of these kind of system was that it could only

realistically test the process of call signaling by the main control system in a test switch, but not




                                                   3
          Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 4 of 40




the performance such as the hardware interface performance in the switch and the performance of

the switching connection path. (Id.at 1:48-53). Furthermore, they cannot accurately reflect the

call process performance of the switch system. (Id.at 1:53-54).

       14.     The technical problem solved by the inventors is to provide a simulated user call

test system located within a digital SPC switch, and to provide a test method based on built-in

modules of a digital SPC switch, in which equal functions to commercial external call test systems

can be realized with a lower cost by user the current hardware and software resources in a digital

SPC switch. (Id. at 1:58-64).

       15.     Direct Infringement. Upon information and belief, Defendant has been directly

infringing claim 1 of the ‘301 Patent in Texas, and elsewhere in the United States, by making,

using, selling, and or offering to sell the Noffz Base Station Emulator sUTP 5018 (“Accused

Instrumentality”).

       16.     A system utilized by the Accused Instrumentality is a simulated user call test system

(e.g., GUI-based Application software with the UTP Base Station Emulator), characterized in that

the simulated user call test system is built in a digital stored program control switch (e.g., the

Accused Instrumentality), and comprises a back process module (e.g., GUI-based Application

software), a front call control process module (e.g., user equipment (UE)) and a hardware

subsystem (e.g., Hardware Units in the Accused Instrumentality) for performing a call test (e.g.,

call tests for cellular networks 2G, 3G, 4G and 5G). As shown below, the Accused Instrumentality

is a part of the simulated user call test system which is a GUI-based Application software. The

Accused Instrumentality comprises back process module (e.g., GUI-based Application software),

a front call control process module (e.g., user equipment (UE)) and a hardware subsystem (e.g.,

Hardware) for performing a call test (e.g., call tests for cellular networks 2G, 3G, 4G and 5G). The




                                                 4
           Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 5 of 40




back process module (Application software) provides an operation interface for a user to perform

a call test setup (setting various parameters for call test), receives call test result data (e.g., result

report) transmitted by the front call control process module (e.g., user equipment (UE)), and

displays the result on the display of the Accused Instrumentality. The front call control process

module receives call test setup parameters provided by the Application software, controls the

hardware subsystem (Hardware Units in the Accused Instrumentality) to perform a call test, and

reports a result of the call test to Noffz Application software. The hardware subsystem comprises

function process units of the switch to receive instructions from the user equipment (UE), perform

tests comprising starting a call, hanging-up a call and handover between calls; and report test

results to the front call control process module.




                                                    5
          Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 6 of 40




(E.g., https://noffz.com/wp-content/uploads/2021/04/14635-produktblatt-sutp-5018-bse.pdf).




(E.g., https://noffz.com/wp-content/uploads/2021/04/14635-produktblatt-sutp-5018-bse.pdf).




                                              6
          Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 7 of 40




(E.g., https://noffz.com/wp-content/uploads/2021/04/14635-produktblatt-sutp-5018-bse.pdf ).




                                              7
         Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 8 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                          8
         Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 9 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                          9
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 10 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         10
         Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 11 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).

       17.    The Accused Instrumentality is a simulated user call test system that comprises the

back process module (e.g., Noffz Application software) runs on a maintaining platform (e.g., UTP




                                              11
          Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 12 of 40




Base Station Emulator) of the switch (e.g., the Accused Instrumentality) for providing an operation

interface (e.g., GUI) for a user to perform a call test setup (e.g., to set various parameters such as

SNR, Bandwidth, etc.), receives call test result data (e.g., report of test results waveforms)

transmitted by the front call control process module (e.g., user equipment (UE)), and performs

display and statistical processes (e.g., display the result and statistical data on the display of the

Accused Instrumentality). As shown below, the Accused Instrumentality is a part of the simulated

user call test system which is a GUI-based Application software with the UTP Base Station

Emulator. The Accused Instrumentality comprises back process module (e.g., GUI-based

Application software), a front call control process module (e.g., user equipment (UE)) and a

hardware subsystem (e.g., Hardware) for performing a call test (e.g., call tests for cellular networks

2G, 3G, 4G and 5G). The back process module (e.g., Application software) provides an operation

interface for a user to perform a call test setup (setting various parameters for call test), receives

call test result data (e.g., result report) transmitted by the front call control process module (e.g.,

user equipment (UE)), and displays the result on the display of the Accused Instrumentality. The

front call control process module receives call test setup parameters provided by the Application

software, controls the hardware subsystem (Hardware Units in the Accused Instrumentality) to

perform a call test, and reports a result of the call test to Noffz Application software. The hardware

subsystem comprises function process units of the switch to receive instructions from the user

equipment (UE), perform tests comprising starting a call, hanging-up a call and handover between

calls; and report test results to the front call control process module.




                                                  12
         Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 13 of 40




(E.g., https://noffz.com/wp-content/uploads/2021/04/14635-produktblatt-sutp-5018-bse.pdf).




                                             13
         Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 14 of 40




(E.g., https://noffz.com/wp-content/uploads/2021/04/14635-produktblatt-sutp-5018-bse.pdf).




                                             14
         Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 15 of 40




(E.g., https://noffz.com/wp-content/uploads/2021/04/14635-produktblatt-sutp-5018-bse.pdf ).




                                              15
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 16 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         16
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 17 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         17
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 18 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         18
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 19 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         19
          Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 20 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).

       18.     The Accused Instrumentality is a simulated user call test system that comprises the

front call control process module (e.g., user equipment (UE)) is included in a main control module

of the switch (e.g., the Accused Instrumentality) to receive call test setup parameters (e.g., call test

data containing various parameters, such as SNR, Bandwidth, etc.) provided by the back process

module (e.g., GUI-based Application software), control the hardware subsystem (e.g., Hardware)

to perform a call test process (e.g., 2G/3G/4G/5G call test) according to a flowchart and user

parameters set (e.g. Various parameters, such as SNR, Bandwidth, etc.), and report a result of the

call test to the back process module (e.g., GUI-based Application software). As shown below, the

Accused Instrumentality is a part of the simulated user call test system which is a GUI-based

Application software with the UTP Base Station Emulator. The Accused Instrumentality

comprises back process module (e.g., GUI-based Application software), a front call control

process module (e.g., user equipment (UE)) and a hardware subsystem (e.g., Hardware) for

performing a call test (e.g., call tests for cellular networks 2G, 3G, 4G and 5G). The back process



                                                  20
          Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 21 of 40




module (e.g., Application software) provides an operation interface for a user to perform a call test

setup (setting various parameters for call test), receives call test result data (e.g., result analysis)

transmitted by the front call control process module (e.g., user equipment (UE)), and displays the

result on the display of the Accused Instrumentality. The front call control process module receives

call test setup parameters provided by the Application software, controls the hardware subsystem

(Hardware Units in the Accused Instrumentality) to perform a call test, and reports a result of the

call test to Noffz Application software. The hardware subsystem comprises function process units

of the switch to receive instructions from the user equipment (UE), perform tests comprising

starting a call, hanging-up a call and handover between calls; and report test results to the front

call control process module.




                                                  21
         Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 22 of 40




(E.g., https://noffz.com/wp-content/uploads/2021/04/14635-produktblatt-sutp-5018-bse.pdf).




                                             22
         Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 23 of 40




(E.g., https://noffz.com/wp-content/uploads/2021/04/14635-produktblatt-sutp-5018-bse.pdf).




                                             23
         Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 24 of 40




(E.g., https://noffz.com/wp-content/uploads/2021/04/14635-produktblatt-sutp-5018-bse.pdf ).




                                              24
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 25 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         25
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 26 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         26
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 27 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         27
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 28 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         28
          Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 29 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).

       19.     The Accused Instrumentality is a simulated user call test system that comprises a

hardware subsystem (e.g., Hardware) that comprises function process units of the digital stored

program control switch (e.g., the Accused Instrumentality) to receive instructions from the front

call control process module (e.g., user equipment (UE)), perform tests comprising at least one of

the following: picking-up or hanging-up phones, detecting signaling tone, dialing, sending a test

tone, or talking (see the below evidence of use showing starting a call, hanging-up a call, etc.) and

report test results to the front call control process module (e.g., user equipment (UE)), and wherein

the hardware subsystem further comprises a loop relay panel (e.g., display interface connected to

UTP Base Station Emulator) used for simulating picking-up or hanging-on a phone in a calling

(e.g., initiating a call, call hanging) or called user terminal and dial function of dial pulse form by

the calling user. As shown below, the Accused Instrumentality is a part of the simulated user call

test system which is a GUI-based Application software with the UTP Base Station Emulator. The

Accused Instrumentality comprises back process module (e.g., GUI-based Application software),



                                                  29
          Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 30 of 40




a front call control process module (e.g., user equipment (UE)) and a hardware subsystem (e.g.,

Hardware) for performing a call test (e.g., call tests for call tests for cellular networks 2G, 3G, 4G

and 5G). The back process module (e.g., Application software) provides an operation interface for

a user to perform a call test setup (setting various parameters for call test), receives call test result

data (e.g., result analysis) transmitted by the front call control process module (e.g., user equipment

(UE)), and displays the result on the display of the Accused Instrumentality. The front call control

process module receives call test setup parameters provided by the Application software, controls

the hardware subsystem (Hardware Units in the Accused Instrumentality) to perform a call test,

and reports a result of the call test to Noffz Application software. The hardware subsystem

comprises function process units of the switch to receive instructions from the user equipment

(UE), perform tests comprising starting a call, hanging-up a call and handover between calls; and

report test results (e.g., report generator) to the front call control process module.




                                                   30
         Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 31 of 40




(E.g., https://noffz.com/wp-content/uploads/2021/04/14635-produktblatt-sutp-5018-bse.pdf).




                                             31
         Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 32 of 40




(E.g., https://noffz.com/wp-content/uploads/2021/04/14635-produktblatt-sutp-5018-bse.pdf).




                                             32
         Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 33 of 40




(E.g., https://noffz.com/wp-content/uploads/2021/04/14635-produktblatt-sutp-5018-bse.pdf ).




                                              33
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 34 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         34
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 35 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         35
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 36 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         36
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 37 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         37
        Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 38 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).




                                         38
         Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 39 of 40




(E.g., https://www.youtube.com/watch?v=x5Pp1UzADlE).

       20.      Plaintiff has been damaged as a result of Defendant’s infringing conduct with

respect to United States Patent Nos. 7,668,301. Defendant is thus liable to Plaintiff for damages

in an amount that adequately compensates Plaintiff for such Defendant’s infringement of the ‘301

patent, i.e., in an amount that by law cannot be less than would constitute a reasonable royalty for

the use of the patented technology, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

       21.      On information and belief, and to the extent required, all marking requirements

have been complied with.




                                                39
            Case 6:22-cv-00815-DC Document 1 Filed 07/26/22 Page 40 of 40




                                       V. JURY DEMAND

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.

                                   VI. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court find in its favor and against

Defendant, and that the Court grant Plaintiff the following relief:

       a.        Judgment that one or more claims of United States Patent Nos. 7,668,301 has been
                 infringed, either literally and/or under the doctrine of equivalents, by Defendant;

       b.        Judgment that Defendant account for and pay to Plaintiff all damages to and costs
                 incurred by Plaintiff because of Defendant’s infringing activities and other conduct
                 complained of herein, and an accounting of all infringements and damages not
                 presented at trial;

       c.        That Plaintiff be granted pre-judgment and post-judgment interest on the damages
                 caused by Defendant’s infringing activities and other conduct complained of
                 herein; and

       d.        That Plaintiff be granted such other and further relief as the Court may deem just
                 and proper under the circumstances.


 July 26, 2022                                     Respectfully Submitted,

                                                   /s/ David R. Bennett
                                                   David R. Bennett
                                                   (Admitted to the U.S. Dist. Ct. for the W.D. Texas)
                                                   Direction IP Law
                                                   P.O. Box 14184
                                                   Chicago, IL 60614-0184
                                                   (312) 291-1667
                                                   dbennett@directionip.com

                                                   Attorneys for Plaintiff Prestwick Licensing LLC




                                                  40
